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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

 ROME TARIK ALI,

        Plaintiff,                                                       ORDER
 v.
                                                                Case No. 21-cv-286-wmc
 CHRISTINE TAYLOR,

        Defendant.


       Plaintiff Rome Tarik Ali has filed a proposed civil complaint. Plaintiff seeks to commence

this lawsuit without prepayment of the filing fee pursuant to 28 U.S.C. § 1915. From the affidavit

of indigency plaintiff has submitted, I find that plaintiff is unable to prepay the fees and costs of

commencing this action or to give security therefor.




       IT IS ORDERED that:

       1.      Plaintiff Rome Tarik Ali’s petition for leave to proceed without prepayment of fees is

GRANTED.

       2.      No further action will be taken in this case until the court has screened the complaint

pursuant to 28 U.S.C. § 1915 to determine whether the case must be dismissed because the

complaint is frivolous or malicious, fails to state a claim on which relief may be granted or seeks

monetary relief against a defendant who is immune from such relief. Once the screening process is

complete, a separate order will issue.

               Entered this 1st day of June, 2021.

                                     BY THE COURT:


                                     /s/
                                     PETER OPPENEER
                                     Magistrate Judge
